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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                MBMG Holding, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  7500 S.W. 8th Street, Ste. 400
                                  Miami, FL 33144
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Miami-Dade                                                    Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.criticalcaremc.com


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    MBMG Holding, LLC                                                                           Case number (if known)
          Name



7.   Describe debtor's business       A. Check one:
                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                       Railroad (as defined in 11 U.S.C. § 101(44))
                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                       Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                       None of the above

                                      B. Check all that apply
                                       Tax-exempt entity (as described in 26 U.S.C. §501)
                                       Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                       Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                               6211

8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
     debtor filing?
                                       Chapter 7
                                       Chapter 9
                                       Chapter 11. Check all that apply:
                                                               Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                procedure in 11 U.S.C. § 1116(1)(B).
                                                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                proceed under Subchapter V of Chapter 11.
                                                               A plan is being filed with this petition.
                                                               Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                accordance with 11 U.S.C. § 1126(b).
                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                (Official Form 201A) with this form.
                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                       Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                       No.
     the debtor within the last 8      Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                 When                                  Case number
                                                District                                 When                                  Case number

10. Are any bankruptcy cases           No
    pending or being filed by a
    business partner or an             Yes.
    affiliate of the debtor?




Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
                                       Case 24-20576-CLC                      Doc 1      Filed 10/13/24             Page 3 of 17
Debtor    MBMG Holding, LLC                                                                             Case number (if known)
          Name

     List all cases. If more than 1,
     attach a separate list                        Debtor       See Exhibit 1 attached                                       Relationship

                                                   District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
                                                  Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal           Yes.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                    What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                    livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes.       Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                           5001-10,000                               50,001-100,000
                                        50-99
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    MBMG Holding, LLC                                                                        Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 13, 2024
                                                  MM / DD / YYYY


                             X /s/ Nicholas K. Campbell                                                   Nicholas K. Campbell
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Restructuring Officer




18. Signature of attorney    X /s/ Paul Steven Singerman                                                   Date October 13, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Paul Steven Singerman 378860
                                 Printed name

                                 Berger Singerman LLP
                                 Firm name

                                 1450 Brickell Avenue, Ste. 1900
                                 Miami, FL 33131
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     305-755-9500                  Email address      singerman@bergersingerman.com

                                 378860 FL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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                                              EXHIBIT 1 to Voluntary Petitions1
    Debtor Name                       EIN                   Date Filed           Case                District
                                                                                 Number
    Care Center Medical Group, XX-XXXXXXX                     10/13/2024         Pending             U.S. Bankruptcy Court,
    LLC                        (FL)                                                                  Southern District of Florida
                                                                                                     (Miami Division)
    Care Center Network, LLC          XX-XXXXXXX              10/13/2024         Pending             U.S. Bankruptcy Court,
                                      (FL)                                                           Southern District of Florida
                                                                                                     (Miami Division)
    CCMC Physician Holdings,          XX-XXXXXXX              10/13/2024         Pending             U.S. Bankruptcy Court,
    Inc.                              (FL)                                                           Southern District of Florida
                                                                                                     (Miami Division)
    Clinical Care Pharmacy,           XX-XXXXXXX              10/13/2024         Pending             U.S. Bankruptcy Court,
    LLC                               (FL)                                                           Southern District of Florida
                                                                                                     (Miami Division)
    Florida Family Primary            XX-XXXXXXX              10/13/2024         Pending             U.S. Bankruptcy Court,
    Care Center, LLC                  (FL)                                                           Southern District of Florida
                                                                                                     (Miami Division)
    Florida Family Primary            XX-XXXXXXX              10/13/2024         Pending             U.S. Bankruptcy Court,
    Care Center of Pasco, LLC         (FL)                                                           Southern District of Florida
                                                                                                     (Miami Division)
    Florida Family Primary            XX-XXXXXXX              10/13/2024         Pending             U.S. Bankruptcy Court,
    Care Centers of Orlando,          (FL)                                                           Southern District of Florida
    LLC                                                                                              (Miami Division)
    Florida Family Primary            XX-XXXXXXX              10/13/2024         Pending             U.S. Bankruptcy Court,
    Care Centers of Pinellas,         (FL)                                                           Southern District of Florida
    LLC                                                                                              (Miami Division)
    Florida Family Primary            XX-XXXXXXX              10/13/2024         Pending             U.S. Bankruptcy Court,
    Care Centers of Tampa,            (FL)                                                           Southern District of Florida
    LLC                                                                                              (Miami Division)
    MB Medical Operations,            XX-XXXXXXX              10/13/2024         Pending             U.S. Bankruptcy Court,
    LLC                               (DE)                                                           Southern District of Florida
                                                                                                     (Miami Division)
    MB Medical Transport,             XX-XXXXXXX              10/13/2024         Pending             U.S. Bankruptcy Court,
    LLC                               (DE)                                                           Southern District of Florida
                                                                                                     (Miami Division)
    MBMG Holding, LLC                 XX-XXXXXXX              10/13/2024         Pending             U.S. Bankruptcy Court,
                                      (DE)                                                           Southern District of Florida
                                                                                                     (Miami Division)
    MBMG Intermediate                 XX-XXXXXXX              10/13/2024         Pending             U.S. Bankruptcy Court,
    Holding, LLC                      (DE)                                                           Southern District of Florida
                                                                                                     (Miami Division)

1
  For a detailed description of the relationship amongst the Debtors listed herein, please refer to the Declaration of Nicholas K. Campbell
in Support of Chapter 11 Petitions and First Day Pleadings.
13181354-1
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 Debtor Name                 EIN           Date Filed         Case            District
                                                              Number
 Miami Beach Medical         XX-XXXXXXX     10/13/2024        Pending         U.S. Bankruptcy Court,
 Centers, Inc.               (FL)                                             Southern District of Florida
 f/k/a Rodolfo Dumenigo,                                                      (Miami Division)
 M.D., P.A.

 Miami Beach Medical         XX-XXXXXXX     10/13/2024        Pending         U.S. Bankruptcy Court,
 Consultants, LLC            (FL)                                             Southern District of Florida
                                                                              (Miami Division)
 Miami Medical & Wellness    XX-XXXXXXX     10/13/2024        Pending         U.S. Bankruptcy Court,
 Center, LLC                 (FL)                                             Southern District of Florida
                                                                              (Miami Division)




13181354-1                                         2
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            RSSRUWXQLW\WRFRQVXOWZLWKWKHOHJDODQGILQDQFLDODGYLVRUVRIWKH%.(QWLWLHVDQGKDYHFRQVLGHUHG
            HDFKRIWKHVWUDWHJLFDOWHUQDWLYHVDYDLODEOHWRWKH%.(QWLWLHVDQG
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            SRVVHVVLRQ ILQDQFLQJ FUHGLW IDFLOLW\ LQ DQ DJJUHJDWH DPRXQW XS WR  WKH ³',3
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            VHWIRUWKWKHUHLQDQGWKH$SSURYLQJ(QWLWLHVDJUHHWKDWWKH%.(QWLWLHVVKRXOGREWDLQWKHEHQHILWV
            RIWKH',3)DFLOLW\DQGGHVLUHWKDWWKH%.(QWLWLHVHQWHULQWRWKH',3&UHGLW$JUHHPHQWDQG
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            KDYHUHFHLYHGUHYLHZHGDQGFRQVLGHUHGHQWHULQJLQWRWKHWKDWFHUWDLQ$VVHW3XUFKDVH$JUHHPHQW
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            0HGLFDO 2SHUDWLRQV DV WKH UHSUHVHQWDWLYH RI WKH 6HOOHUV WKH ³6HOOHUV¶ 5HSUHVHQWDWLYH´  DQG
            &RQYLYD0HGLFDO&HQWHU0DQDJHPHQW//&D'HODZDUHOLPLWHGOLDELOLW\FRPSDQ\ ³%X\HU´  WKH
            ³$VVHW3XUFKDVH$JUHHPHQW´ ZKHUHE\WKH6HOOHUVSURSRVHWRVHOOWUDQVIHUDQGDVVLJQWR%X\HU
            DQG%X\HUSURSRVHVWRSXUFKDVHDFTXLUHDQGDVVXPHIURPWKH6HOOHUVWKH3XUFKDVHG$VVHWVDQG
            $VVXPHG /LDELOLWLHV DV VXFK WHUPV DUH GHILQHG LQ WKH $VVHW 3XUFKDVH $JUHHPHQW  DQG WKH
            $SSURYLQJ (QWLWLHV DJUHH WKDW WKH 6HOOHUV VKRXOG REWDLQ WKH EHQHILWV RI WKH $VVHW 3XUFKDVH
            $JUHHPHQWDQGGHVLUHVWKDWWKH6HOOHUVHQWHULQWRWKH$VVHW3XUFKDVH$JUHHPHQWLQDFFRUGDQFH
            ZLWKWKHELGDQGVDOHSURFHGXUHVDVPD\EHDSSURYHGE\WKH%DQNUXSWF\&RXUWZLWKMXULVGLFWLRQ
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            DQGRUFRQWHPSODWHGWKHUHE\DQGEHOLHYHWKDW L WKH%.(QWLWLHVZLOOUHFHLYHVXEVWDQWLDOEHQHILW
            E\ WKH 6HOOHUV HQWHULQJ LQWR WKH $VVHW 3XUFKDVH $JUHHPHQW DQG FRQVXPPDWLQJ WKH WUDQVDFWLRQV
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            DSSURYH WKH WHUPV DQG SURYLVLRQV WKHUHRI DV ZHOO DV DOO GRFXPHQWV UHODWHG WKHUHWR DQGRU
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            SHUIRUPDQFH RI VDPH DQG HDFK RI WKH WUDQVDFWLRQV FRQWHPSODWHG WKHUHE\ FROOHFWLYHO\ WKH
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            ILOHGE\HDFK%.(QWLW\VHHNLQJUHOLHIXQGHUWKHSURYLVLRQVRIWKH%DQNUXSWF\&RGHDQG
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            YROXQWDU\ SHWLWLRQV IRU UHOLHI XQGHU FKDSWHU  RI WKH %DQNUXSWF\ &RGH FROOHFWLYHO\ WKH
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            WKH&KDSWHU&DVHVDQG LLL WRH[HFXWHDQGGHOLYHUDQ\DQGDOOGRFXPHQWVDQGWRSHUIRUPDQ\
            DQGDOOVXFKDFWVDVDUHUHDVRQDEOHDGYLVDEOHH[SHGLHQWFRQYHQLHQWSURSHUDQGQHFHVVDU\WRHIIHFW
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            DQGDGPLQLVWUDWLRQRIWKH&KDSWHU&DVHVLQFOXGLQJEXWQRWOLPLWHGWRWKH3HWLWLRQVDVZHOODV
            DOORWKHUDQFLOODU\GRFXPHQWV LQFOXGLQJEXWQRWOLPLWHGWRSHWLWLRQVVFKHGXOHVVWDWHPHQWVOLVWV
            PRWLRQV DSSOLFDWLRQV ',3 &UHGLW $JUHHPHQW V  WKH 7UDQVDFWLRQ 'RFXPHQWV REMHFWLRQV
            UHVSRQVHV DIILGDYLWV GHFODUDWLRQV FRPSODLQWV SOHDGLQJV GLVFORVXUH VWDWHPHQWV SODQV RI
            UHRUJDQL]DWLRQ RU OLTXLGDWLRQ DQG RWKHU SDSHUV RU GRFXPHQWV  LQFOXGLQJ EXW QRW OLPLWHG WR DQ\
            DPHQGPHQWVPRGLILFDWLRQVRUVXSSOHPHQWVWKHUHWR FROOHFWLYHO\WKH³&KDSWHU'RFXPHQWV´ 
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            DQG RQ EHKDOI RI HDFK RI WKH %. (QWLWLHV DQG RWKHUZLVH WR WDNH DOO DFWLRQV LQFOXGLQJ ZLWKRXW
            OLPLWDWLRQ L QHJRWLDWLRQH[HFXWLRQGHOLYHU\DQGILOLQJRIDQ\DJUHHPHQWVFHUWLILFDWHVRURWKHU
            LQVWUXPHQWVRUGRFXPHQWV LL WKHSD\PHQWRIDQ\UHWDLQHURUFRQVLGHUDWLRQIRUDQ\SURIHVVLRQDO
            UHWDLQHGE\WKH%.(QWLWLHVLQWKH&KDSWHU&DVHVDQG LLL WKHSD\PHQWRIH[SHQVHVDQGWD[HV
            DVDQ\VXFK$XWKRUL]HG2IILFHUPD\GHHPQHFHVVDU\DSSURSULDWHRUDGYLVDEOH VXFKDFWVWREH
            FRQFOXVLYHHYLGHQFHWKDWVXFK$XWKRUL]HG2IILFHUGHHPHGWKHVDPHWREHQHFHVVDU\DSSURSULDWH
            RU DGYLVDEOH  LQ RUGHU WR FRPPHQFH DQG DGPLQLVWHU WKH &KDSWHU  &DVHV DQG DOO DFWV RI WKH
            $XWKRUL]HG2IILFHUWDNHQSXUVXDQWWRWKHDXWKRULW\JUDQWHGKHUHLQRUKDYLQJRFFXUUHGSULRUWRWKH
            GDWH KHUHRI LQ RUGHU WR HIIHFW VXFK WUDQVDFWLRQV DUH KHUHE\ DSSURYHG DGRSWHG UDWLILHG DQG
            FRQILUPHGLQDOOUHVSHFWVDQGLWLVIXUWKHU
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            GXWLHV XQGHU WKH %DQNUXSWF\ &RGH DQG DOO UHODWHG PDWWHUV DQG WR WDNH DQ\ DQG DOO DFWLRQV
            DSSURSULDWHWRDGYDQFHWKH%.(QWLWLHV¶ULJKWVLQFOXGLQJWKHSUHSDUDWLRQRISOHDGLQJVDQGILOLQJV
            LQWKH&KDSWHU&DVHVDQGLQFRQQHFWLRQWKHUHZLWKWKH$XWKRUL]HG2IILFHUVEHDQGHDFKRIWKHP
            DFWLQJDORQHRULQDQ\FRPELQDWLRQKHUHE\LVDXWKRUL]HGGLUHFWHGDQGHPSRZHUHGRQEHKDOIRI
            DQG LQ WKH QDPH RI WKH %. (QWLWLHV WR H[HFXWH DSSURSULDWH UHWHQWLRQ DJUHHPHQWV ZLWK %HUJHU
            6LQJHUPDQSD\DSSURSULDWHUHWDLQHUVWR%HUJHU6LQJHUPDQSULRUWRDQGLPPHGLDWHO\XSRQWKHILOLQJ
            RIWKH&KDSWHU&DVHVDQGWRFDXVHWREHILOHGDQDSSURSULDWHDSSOLFDWLRQIRUDXWKRULW\WRUHWDLQ
            WKHVHUYLFHVRI%HUJHU6LQJHUPDQDQGLWLVIXUWKHU
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            WKHUHLQ WR WKH %. (QWLWLHV DQG WR SURYLGH WKH VHUYLFHV RI D &KLHI 5HVWUXFWXULQJ 2IILFHU DQG LQ
            FRQQHFWLRQ WKHUHZLWK WKH $XWKRUL]HG 2IILFHUV EH DQG HDFK RI WKHP DFWLQJ DORQH RU LQ DQ\
            FRPELQDWLRQKHUHE\LVDXWKRUL]HGGLUHFWHGDQGHPSRZHUHGRQEHKDOIRIDQGLQWKHQDPHRIWKH
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            0HUXSULRUWRDQGLPPHGLDWHO\XSRQWKHILOLQJRIWKH&KDSWHU&DVHVDQGWRFDXVHWREHILOHGDQ
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            DQGDVVLVWWKH%.(QWLWLHVLQFDUU\LQJRXWWKHLUGXWLHVXQGHUWKH%DQNUXSWF\&RGHDQGWRWDNHWR
            SURYLGHWKHUHVWUXFWXULQJDQGRWKHUVHUYLFHVGHWDLOHGWKHUHLQWRWKH%.(QWLWLHVDQGWRSURYLGHWKH
            VHUYLFHVRID&KLHI5HVWUXFWXULQJ2IILFHUDQGLQFRQQHFWLRQWKHUHZLWKWKH$XWKRUL]HG2IILFHUVEH
            DQG HDFK RI WKHP DFWLQJ DORQH RU LQ DQ\ FRPELQDWLRQ KHUHE\ LV DXWKRUL]HG GLUHFWHG DQG
            HPSRZHUHG RQ EHKDOI RI DQG LQ WKH QDPH RI WKH %. (QWLWLHV WR H[HFXWH DSSURSULDWH UHWHQWLRQ
            DJUHHPHQWVZLWK2SSHQKHLPHUSD\DSSURSULDWHUHWDLQHUVWR2SSHQKHLPHUSULRUWRDQGLPPHGLDWHO\
            XSRQWKHILOLQJRIWKH&KDSWHU&DVHVDQGWRFDXVHWREHILOHGDQDSSURSULDWHDSSOLFDWLRQIRU
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            UHSUHVHQWDQGDVVLVWWKH%.(QWLWLHVLQFDUU\LQJRXWWKHLUGXWLHVXQGHUWKH%DQNUXSWF\&RGHDQGWR
            WDNH DQ\ DQG DOO DFWLRQV WR DGYDQFH WKH %. (QWLWLHV¶ ULJKWV DQG REOLJDWLRQV DQG LQ FRQQHFWLRQ
            WKHUHZLWKWKH$XWKRUL]HG2IILFHUVEHDQGHDFKRIWKHPDFWLQJDORQHRULQDQ\FRPELQDWLRQKHUHE\
            LVDXWKRUL]HGGLUHFWHGDQGHPSRZHUHGRQEHKDOIRIDQGLQWKHQDPHRIWKH%.(QWLWLHVWRH[HFXWH
            DSSURSULDWH UHWHQWLRQ DJUHHPHQWV ZLWK (SLT SD\ DSSURSULDWH UHWDLQHUV WR (SLT SULRU WR DQG
            LPPHGLDWHO\ XSRQ WKH ILOLQJ RI WKH &KDSWHU  &DVHV DQG WR FDXVH WR EH ILOHG DQ DSSURSULDWH
            DSSOLFDWLRQIRUDXWKRULW\WRUHWDLQWKHVHUYLFHVRI(SLTDQGLWLVIXUWKHU
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            FRPELQDWLRQKHUHE\LVDXWKRUL]HGGLUHFWHGDQGHPSRZHUHGRQEHKDOIRIDQGLQWKHQDPHRIWKH
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            DGYLVRUV WR WKH %. (QWLWLHV DV DUH GHHPHG QHFHVVDU\ WR UHSUHVHQW DQG DVVLVW WKH %. (QWLWLHV LQ
            FDUU\LQJRXWWKHLUGXWLHVXQGHUWKH%DQNUXSWF\&RGHDQGLQFRQQHFWLRQWKHUHZLWKWKH$XWKRUL]HG
            2IILFHUVDFWLQJDORQHRULQDQ\FRPELQDWLRQKHUHE\DUHDXWKRUL]HGGLUHFWHGDQGHPSRZHUHGRQ
            EHKDOI RI DQG LQ WKH QDPH RI WKH %. (QWLWLHV WR H[HFXWH DSSURSULDWH UHWHQWLRQ DJUHHPHQWV SD\
            DSSURSULDWHUHWDLQHUVSULRUWRDQGLPPHGLDWHO\XSRQWKHILOLQJRIWKH&KDSWHU&DVHVDQGFDXVH
            WREHILOHGDQDSSURSULDWHDSSOLFDWLRQIRUDXWKRULW\WRUHWDLQWKHVHUYLFHVRIVXFKILUPVDQGLVIXUWKHU
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            DFFRUGLQJWRWKHWHUPVQHJRWLDWHGE\WKHVHQLRUPDQDJHPHQWRIWKH%.(QWLWLHVLQFOXGLQJXQGHU
            GHEWRULQSRVVHVVLRQFUHGLWIDFLOLWLHVRUUHODWLQJWRWKHXVHRIFDVKFROODWHUDODQG % WRVHFXUHWKH
            SD\PHQW DQG SHUIRUPDQFH RI DQ\ SRVWSHWLWLRQ ILQDQFLQJ E\ L  SOHGJLQJ RU JUDQWLQJ OLHQV DQG
            PRUWJDJHVRQRUVHFXULW\LQWHUHVWLQDOORUDQ\SRUWLRQRIWKH%.(QWLWLHV¶DVVHWVLQFOXGLQJDOORU
            DQ\ SRUWLRQ RI WKH LVVXHG DQG RXWVWDQGLQJ FDSLWDO VWRFN SDUWQHUVKLS LQWHUHVWV RU PHPEHUVKLS
            LQWHUHVWVRIDQ\VXEVLGLDULHVRIWKH%.(QWLWLHVZKHWKHUQRZRZQHGRUKHUHDIWHUDFTXLUHGDQG LL 
            HQWHULQJLQWRRUFDXVLQJWREHHQWHUHGLQWRVXFKVHFXULW\DJUHHPHQWVSOHGJHDJUHHPHQWVFRQWURO
            DJUHHPHQWV LQWHUFUHGLWRU DJUHHPHQWV PRUWJDJHV GHHGV RI WUXVW DQG RWKHU DJUHHPHQWV DV DUH
            QHFHVVDU\DSSURSULDWHRUGHVLUDEOHWRHIIHFWXDWHWKHLQWHQWRIRUPDWWHUVUHDVRQDEO\FRQWHPSODWHG
            RULPSOLHGE\WKLVUHVROXWLRQLQVXFKIRUPFRYHULQJVXFKFROODWHUDODQGKDYLQJVXFKRWKHUWHUPV
            DQGFRQGLWLRQVDVDUHDSSURYHGRUGHHPHGQHFHVVDU\DSSURSULDWHRUGHVLUDEOHE\WKH$XWKRUL]HG


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            HYLGHQFHRIVXFKDSSURYDORUGHWHUPLQDWLRQDQGLWLVIXUWKHU
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            LQFXUUHQFHDQGSHUIRUPDQFHRIWKHLUREOLJDWLRQVXQGHUWKH',3)DFLOLW\WKH',3&UHGLW$JUHHPHQW
            DQG HDFK RI WKH RWKHU ',3 )DFLOLW\ 'RFXPHQWV DV GHILQHG EHORZ  LQFOXGLQJ DQ\ ERUURZLQJV
            WKHUHXQGHUJUDQWLQJRIOLHQVRQRUVHFXULW\LQWHUHVWVLQDOORUDQ\SRUWLRQRIWKH%.(QWLWLHV¶DVVHWV
            DV SURYLGHG WKHUHLQ DQG WKH FRQVXPPDWLRQ RI WKH WUDQVDFWLRQV FRQWHPSODWHG WKHUHE\ EH DQG
            KHUHE\ DUH LQ DOO UHVSHFWV DXWKRUL]HG DQG DSSURYHG DQG IXUWKHU UHVROYHG WKDW HDFK RI WKH
            $XWKRUL]HG2IILFHUVEHDQGKHUHE\LVDXWKRUL]HGDQGHPSRZHUHGWRH[HFXWHDQGGHOLYHUDQGWR
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            WKH',3&UHGLW$JUHHPHQWDQGHDFKRIWKHDJUHHPHQWVGRFXPHQWVDQGLQVWUXPHQWVFRQWHPSODWHG
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            )DFLOLW\ WRJHWKHUZLWKWKH',3&UHGLW$JUHHPHQWWKH³',3)DFLOLW\'RFXPHQWV´ LQWKHQDPHDQG
            RQEHKDOIRIWKH%.(QWLWLHVXQGHUWKHLUVHDOVRURWKHUZLVHVXEVWDQWLDOO\LQWKHIRUPVSUHVHQWHGWR
            WKH$SSURYLQJ(QWLWLHVZLWKVXFKFKDQJHVWKHUHLQDQGPRGLILFDWLRQVDQGDPHQGPHQWVWKHUHWRDV
            DQ\ $XWKRUL]HG 2IILFHU PD\ LQ KLV RU KHU VROH GLVFUHWLRQ DSSURYH ZKLFK DSSURYDO VKDOO EH
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            UHVROXWLRQVWKDWIROORZDXWKRUL]HDQGDSSURYHLQDOOUHVSHFWVWKH$VVHW3XUFKDVH$JUHHPHQWWKH
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            WREHH[HFXWHGDQGGHOLYHUHGZKHUHQHFHVVDU\RUDSSURSULDWHILOH RUFDXVHWREHILOHG ZLWKWKH
            DSSURSULDWHJRYHUQPHQWDODXWKRULWLHVDOOVXFKRWKHUFHUWLILFDWHVLQVWUXPHQWVJXDUDQWLHVQRWLFHV
            DQGGRFXPHQWVDVPD\EHUHTXLUHGRUDVVXFK$XWKRUL]HG2IILFHUPD\GHHPQHFHVVDU\DGYLVDEOH
            RUSURSHUWRFDUU\RXWWKHLQWHQWDQGSXUSRVHRIWKHIRUHJRLQJUHVROXWLRQVLQFOXGLQJWKHH[HFXWLRQ
            DQGGHOLYHU\RIDQ\VHFXULW\DJUHHPHQWVSOHGJHVILQDQFLQJVWDWHPHQWVDQGWKHOLNH LL SHUIRUP
            WKHREOLJDWLRQVRIWKH%.(QWLWLHVXQGHUWKH%DQNUXSWF\&RGHWKH',3)DFLOLW\WKH',3&UHGLW
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            FHUWLILFDWHVLQVWUXPHQWVJXDUDQWLHVQRWLFHVDQGGRFXPHQWVWREHH[HFXWHGDQGGHOLYHUHGLQVXFK
            IRUP DV WKH $XWKRUL]HG 2IILFHU SHUIRUPLQJ RU H[HFXWLQJ WKH VDPH VKDOO DSSURYH DQG WKH
            SHUIRUPDQFHRUH[HFXWLRQWKHUHRIE\VXFK$XWKRUL]HG2IILFHUVKDOOEHFRQFOXVLYHHYLGHQFHRIWKH
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            DQGRWKHUDPRXQWVDVLQKLVKHURUWKHLUMXGJPHQWVKDOOEHQHFHVVDU\SURSHURUDGYLVDEOHLQRUGHU
            WRIXOO\FDUU\RXWWKHLQWHQWDQGDFFRPSOLVKWKHSXUSRVHVRIHDFKRIWKHIRUHJRLQJUHVROXWLRQVDQG
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            DVVXFK$XWKRUL]HG2IILFHUPD\GHHPQHFHVVDU\DSSURSULDWHRUGHVLUDEOHDQGWKDWWKHUHXSRQVXFK
            UHVROXWLRQVVKDOOEHGHHPHGDGRSWHGDVDQGIRUWKHUHVROXWLRQVRIWKH%.(QWLWLHVDQGLWLVIXUWKHU
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            IRUHJRLQJUHVROXWLRQVZKLFKDFWVZRXOGKDYHEHHQDSSURYHGE\WKHIRUHJRLQJUHVROXWLRQVH[FHSW
            WKDWVXFKDFWLRQVZHUHWDNHQSULRUWRWKHH[HFXWLRQRIWKHVHUHVROXWLRQVDUHKHUHE\LQDOOUHVSHFWV
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                                                             7LWOH 3UHVLGHQWDQG&(2
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                                                             6ROH'LUHFWRURI&&0&3K\VLFLDQ+ROGLQJV,QF
                                                             DQG0LDPL%HDFK0HGLFDO&HQWHUV,QF
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                                                                                  
                                                             3DXO0F%ULGH
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